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                                                  September 11, 2003


           Michael D. Stotts
           Realty Officer
           P.O. Box 0934
           6986 Ahmaogak Street
           Barrow, Alaska 99723-0934

           Re: Oenga Lease

           Dear Michael:

           It was a pleasure speaking with you earlier this week regarding the Oenga Lease. Thank
           you for the opportunity to review this matter.

           I have reviewed the documents provided with Ken Jacobsen, the real estate/lease attorney
           on the potential litigation team. It certainly appears that the Oenga heirs are not receiving
           what they deserve for the lease of their land. This is a representation we would be
           honored to undertake if the heirs wish to proceed.

           Cases like this, however, are never as simple as they first appear. There are always
           complicating facts. They are both time consuming and expensive. The required legal
           work is expensive. The consultants and experts required are expensive. This must be
           addressed at the outset.

           There appears to be two viable options to pay for this case. One option is for the heirs to
           set aside a fund each year to pay the expenses incurred. The other option is a contingent
           agrt::t::lllt::ni. The way each approach could work, and the advantages and disadvantages of
           each, are detailed below. Either approach would be acceptable to us.

           Option One - Dedicated Fund / Hourly Rate
                        •   Dedicated Fund - $50,000 set aside each year from current lease payments
                            (approximately $90,000) until case is completed. The money would be
                            placed in a dedicated fund or special account solely to pay the legal and
                            other expenses of this case.
                        •   Hourly Rate - Attorney fees would be billed at our hourly rate of $200/hr.
                            Consultants, experts and other costs would be billed at actual cost. All
                            fees and expenses would be paid from this fund.
                        •   Advantages - If there is a large recovery, the Oenga heirs would get all of
                            that recovery, less any actual expenses which exceeded the amount in the
                            Fund. All, or at least most of the attorney fees and expenses would have
                            already been paid.
                                                                                                           G-001161


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                                                                                                                 Exhibit T
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                       •   Disadvantages - The funds actually available to the Oenga heirs for this
                           coming year, and probably a few years more, would be cut by a little more
                           than halfas monies are set aside in the Fund.

           Option Two - Contingent Fee Agreement

                       •   Payment ofAttorney Fees & Other Expenses - The Oenga heirs would pay
                           nothing at this time. If the case is unsuccessful and the lease payments are
                           not ultimately increased, the Oenga heirs would pay nothing. If the case is
                           successful and payments are increased, the Oenga heirs would pay a
                           percentage of that past and future increase in lease payments, plus the
                           other expenses of the case.
                       •   Contingent Agreement Details -
                           No ongoing amounts due from the Oenga heirs.
                           No attorney fees due ifno recovery.
                           Attorney Fee - 30% of recovery prior to filing suit.
                                          - 33 1/3% ifrecovery after filing suit but before trial.
                                          - 35% of recovery after trial begins.
                                          - 40% of recovery if appealed.
                           All other expenses paid from recovery after payment of fees.
                       •   Advantages - The annual lease payments presently available to the Oenga
                           heirs would not be decreased during the case. The Oenga heirs bear no
                           risk ofloss. They would pay nothing if the case were unsuccessful.
                      •    Disadvantages - The Oenga heirs would actually pay more attorney fees if
                           there is a large recovery because the attorneys bear the risk of loss.

           There are advantages and disadvantages to either approach. There may also be lawyers
           in Alaska or elsewhere who would be willing to handle the case under other terms which
           might be more favorable to the client. However, if the Oenga heirs would like to retain
           us under either ofthe above options, we should proceed quickly.

           You indicated that you would share this letter with the heirs. If they wish to proceed
           under the Dedicated Fund / Hourly Rate approach, the retention documents authorizing
           ihe creation of ihe Fund shouid be signed by all heirs uefore the distribution of the lease
           payment made this month. I will also be in Anchorage next month for AFN when we
           could all get together and finalize any other representation matters.

           In closing let me express the honor it is to be considered in assisting Native people to
           obtain what is rightfully theirs. I look forward to hearing from you.

                                                         Si�,A�



                                                         Raymond C. Givens

           RCG:jr


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